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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

            -against-                                            ORDER

GEORGE PAGAN,                                                19 Cr. 320 (PGG)

                        Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the sentencing of the Defendant, scheduled for

October 23, 2020, will now take place on October 30, 2020 at 12:00 p.m. in Courtroom 705 of

the Thurgood Marshall Courthouse, 40 Foley Square, New York, New York.

Dated: New York, New York
       October 19, 2020
